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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA
                            FORT LAUDERDALE DIVISION

 Lakeeshia Blackshure                              Case No. 0:15-cv-61744-DPG

        Plaintiff,                                District Judge:
                                                  Honorable Darrin P. Gayles
 v.
                                                  Magistrate Judge:
 The CBE Group, Inc.                              Honorable William C. Turnoff

        Defendant.
                                                           NOTICE OF DISMISSAL
                                                             WITH PREJUDICE


        Now comes Plaintiff, through counsel, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i),

 hereby dismisses the present action with prejudice. This notice is being filed before Defendant

 has filed an answer and therefore is appropriate for dismissal absent stipulation by all parties.



                                               RESPECTFULLY SUBMITTED,

                                               Hyslip & Taylor, LLC, LPA

                                               By: /s/ John P. Murray

                                               Of Counsel
                                               John P. Murray, Esq.
                                               Florida Bar No. 975818
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 Date: October 21, 2015




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on October 21, 2015, I electronically filed the foregoing Notice.

 Service of this filing will be made by the Plaintiff’s Counsel upon the following:



 Thomas Lockard
 Litigation Manager
 CBE Companies
 1309 Technology Parkway
 Cedar Falls, IA 50613


                                                                     /s/ John P. Murray




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